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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 DAVON ANTON CARTER,
                                                            CIVIL COMPLAINT
               Plaintiff,

 v.                                                              CASE NO. 1:17-cv-00172

 MONTGOMERY WARD, INC.,
                                                       DEMAND FOR JURY TRIAL
               Defendant.


                                          COMPLAINT

        NOW comes DAVON ANTON CARTER (“Plaintiff”), by and through his attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of MONTGOMERY

WARD, INC. (“Defendant”) as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

Act (“TCPA”) under 47 U.S.C. §227 and the Illinois Consumer Fraud and Deceptive Business

Practices Act (“ICFA”) under 815 ILCS 505/1 for Defendant's unlawful practices.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States. Supplemental jurisdiction exists for the state law claim

pursuant to 28 U.S.C. §1367.




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    3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts

business in the Northern District of Illinois and a substantial portion of the events or omissions

giving rise to the claims occurred within the Northern District of Illinois.

                                               PARTIES

    4. Plaintiff is a 40 year old natural person residing at 7842 South Honore Street, Chicago,

Illinois, which falls within the Northern District of Illinois.

    5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

    6. Defendant is a catalog and online retailer offering household goods to customers on a

nationwide basis. Defendant’s principal place of business is located at 1112 7th Avenue,

Monroe, Wisconsin. Defendant regularly conducts business with consumers in Illinois.

    7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

    8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                              FACTS SUPPORTING CAUSES OF ACTION

    9. In approximately March 2016, Plaintiff began receiving calls to his cellular phone, (708)

XXX-7712, from Defendant. See attached Exhibit A for a true and correct copy of an affidavit

signed by Plaintiff.

    10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 7712. Plaintiff is and has always been financially

responsible for the cellular phone and its services. See Exhibit A.

    11. The phone number that Defendant most often calls Plaintiff from is (877) 621-3550. Id.




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   12. Upon information and belief, the phone number ending in 3550 is regularly utilized by

Defendant to contact consumers in Illinois during its debt collection activities.

   13. When answering calls from Defendant, Plaintiff often experiences several audible

“clicks” and a slight pause before a live representative begins to speak. Id.

   14. Prior to receiving the calls, Plaintiff was not aware that Defendant was still in existence,

and he was not aware as to why it was calling him. Id.

   15. Upon speaking with one of Defendant’s representatives, Plaintiff was informed that it

was attempting to collect upon an outstanding debt. Id.

   16. Plaintiff notified Defendant’s representative that this debt did not belong to him, as he

had not purchased anything from it. Id.

   17. Plaintiff tried to find out why Defendant was contacting him on a debt that he did not

incur, but upon attempting to resolve this issue, its representative refused to give him any further

information since his information did not match up with the information corresponding to the

outstanding debt. Id.

   18. On another call, after Plaintiff gave his information, it notified him that his information

did not match up with the information pertaining to the outstanding debt and that it was possible

that Defendant was attempting to collect upon another individual named Davon Carter. Id.

   19. Plaintiff has told Defendant on multiple occasions that the debt does not belong to him

and to stop calling him. Id.

   20. Despite Plaintiff’s demands, Defendant continues to regularly call his cellular phone. Id.

   21. Even after being told to stop contacting him, Defendant has called Plaintiff’s cellular

phone multiple times during the same day up until the present day. Id.




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      22. Plaintiff has received at least 35 calls from Defendant after asking it to stop calling him.

Id.

      23. Frustrated over the persistent calls, Plaintiff spoke with Sulaiman regarding his rights,

resulting in costs and expenses. Id.

      24. Plaintiff has spent money purchasing and maintaining an application on his cellular

phone for the purpose of blocking Defendant’s calls, resulting in pecuniary loss. Id.

      25. Plaintiff has suffered financial loss as a result of Defendant’s actions.

      26. Plaintiff has been unfairly harassed by Defendant's actions.

      27. Plaintiff has suffered actual harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies collection telephone calls,

emotional distress, increased risk of personal injury resulting from the distraction caused by the

never-ending calls, increased usage of his telephone services, loss of cellular phone capacity,

diminished cellular phone functionality, decreased battery life on his cellular phone, and

diminished space for data storage on his cellular phone.


            COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

      28. Plaintiff repeats and realleges paragraphs 1 through 27 as though fully set forth herein.

      29. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent.

The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the

capacity...to store or produce telephone numbers to be called, using a random or sequential

number generator; and to dial such numbers.”

      30. Defendant used an ATDS in connection with its communications directed towards

Plaintiff. The audible “clicking” noise and brief pause that Plaintiff experienced during

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answered calls before being connected to a live representative of Defendant is instructive that an

ATDS was being used. Similarly, the frequency and nature of Defendant’s calls strongly

suggests that an ATDS was being utilized.

   31. Defendant violated the TCPA by placing phone calls to Plaintiff’s cellular phone using

an ATDS without his consent. Plaintiff never entered into any business transaction with

Defendant and never gave it consent to contact him. Even if Defendant had a legitimate business

reason for initially contacting Plaintiff, he explicitly revoked any consent by his demands to

cease contact.

   32. The calls placed by Defendant to Plaintiff were regarding attempted business transactions

and not for emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   33. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, DAVON ANTON CARTER, respectfully requests that this

Honorable Court enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.




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                        COUNT II – VIOLATIONS OF THE ILLINOIS
                 CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT

   34. Plaintiff restates and realleges paragraphs 1 through 33 as though fully set forth herein.

   35. Plaintiff is a “person” and “consumer” as defined by 815 ILCS 505/1(c) and (e) of the

ICFA.

   36. Defendant’s attempted collection calls to Plaintiff are “trade” and “commerce” as

defined by 815 ILCS 505/1(f) of the ICFA.

   37. The ICFA states:

               “Unfair methods of competition and unfair or deceptive acts or
               practices, including but not limited to the use or employment of any
               deception, fraud, false pretense, false promise, misrepresentation or
               the concealment, suppression or omission of any material fact, with
               intent that others rely upon the concealment, suppression or
               omission of such material fact . . . in the conduct of any trade or
               commerce are hereby declared unlawful whether any person has in
               fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

   38. Defendant violated 815 ILCS 505/2 by engaging in an unfair and deceptive act or

practice in contacting Plaintiff. It was unfair for Defendant to relentlessly contact Plaintiff

through means of an ATDS when he requested that it no longer do so. Defendant ignored

Plaintiff’s request and continued to contact him, systematically calling his cellular phone

multiple times during the same day. These calls were placed with the hope that Plaintiff would

be compelled to make payment, even though the debt that was being sought by Defendant did

not belong to him. Defendant ignored Plaintiff’s prompts to cease its calls and continued to seek

payment from him.

   39. The ICFA was designed to protect consumers, such as Plaintiff, from the exact behavior

committed by Defendant.

   40. The ICFA further states:



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               “Any person who suffers actual damage as a result of a violation of
               this Act committed by any other person may bring an action against
               such person. The court, in its discretion may award actual economic
               damages or any other relief which the court deems proper.” 815
               ILCS 505/10a.

   41. As pled in paragraphs 23 through 28, Plaintiff has suffered actual damages, including

costs associated with purchasing and maintaining a blocking application, as a result of

Defendant’s unlawful collection practices. As such, Plaintiff is entitled to relief pursuant to 815

ILCS 505/10a. An award of punitive damages is appropriate because Defendant’s conduct was

outrageous, willful and wanton, and showed a reckless disregard for the rights of Plaintiff.

Plaintiff had no business relationship with Defendant and did not owe any debt to it.

Nevertheless, he was still bombarded with collection phone calls even after demanding that it

stop contacting him. Upon information and belief, Defendant regularly engages in the above

described behavior against consumers in Illinois and for public policy reasons should be

penalized.

   WHEREFORE, Plaintiff, DAVON ANTON CARTER, respectfully requests that this

Honorable Court enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual and punitive damages, in an amount to be determined at trial,
      for the underlying violations;

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Awarding any other relief as this Honorable Court deems just and appropriate.




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Dated: January 10, 2016               Respectfully submitted,

                                      s/ Nathan C. Volheim
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